            Case 2:18-cr-00131-RAJ Document 1480 Filed 10/21/20 Page 1 of 1




1                                                            The Honorable Richard A. Jones
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7                       UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF WASHINGTON
8
                                    AT SEATTLE
9
       UNITED STATES OF AMERICA,                       NO. CR18-131 RAJ
10
                            Plaintiff
11                                                     ORDER GRANTING UNITED STATES’
                       v.                              MOTION TO FILE A BRIEF IN EXCESS
12
                                                       OF TWELVE PAGES
13     MARCUS JAMES HALL
                            Defendant.
14
15
           The Court, having reviewed the Motion of the United States to File a Brief in
16
     Excess of Twelve Pages, and finding good cause, hereby states:
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           IT IS HEREBY ORDERED that the Motion (Dkt. #1475) is GRANTED. The
18
     United States may file its Response to Marcus James Hall’s Motion for Reduction in
19
     Sentence Pursuant to 18 U.S.C. § 3582(c)(1) that does not exceed 17 pages in length.
20
           DATED this 21st day of October, 2020.
21
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23
                                                    A
                                                    The Honorable Richard A. Jones
24                                                  United States District Judge
25
26
27
28
      ORDER GRANTING UNITED STATES’ MOTION TO                          UNITED STATES ATTORNEY
                                                                      700 STEWART STREET, SUITE 5220
      FILE A BRIEF IN EXCESS OF TWELVE PAGES /
                                                                        SEATTLE, WASHINGTON 98101
      United States v. Hall, CR18-131 RAJ- 1                                  (2060 553-7970
